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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

JOHN DOE,
PLAINTIFF Civil Case No. 3:20-cv-00092

VS,
UNIVERSITY OF CONNECTIUCT

AND BRIAN GOEPFRICH,
DEFENDANTS.

 

AFFIDAVIT OF MICHAEL THAD ALLEN CERTIFYING SERVICE UNDER FED.
R.CIV. P. 65(b)(1)(B)
IN SUPPORT OF JOHN DOE’S EMERGENCY MOTION FOR TEMPORARY
RESTRAINING ORDER AND PRELIMINARY INJUNCTION

My name is Michael Thad Allen, and I am over 18 years of age and understand the
meaning of an oath. I swear that the following statements are true upon my oath:

1, I am an attorney practicing law in the state of Connecticut in good standing with
the Federal District Court for the District of Connecticut. I represent Plaintiff in the above
captioned case. I make the following statements based on my own personal knowledge and
experience. I am executing this affidavit to certify notice as required under Fed. R.Civ. P.
65(b)(2)(B).

2. On January 21, 2020, I caused the documents below to be served by email on
General Counsel to Defendant University of Connecticut, Nicole Founier Gelston at
Nicole.gelston@uconn.edu. Attorney Gelston is General Counsel of Defendant University of
Connecticut, with office at Office of the General Counsel, 343 Mansfield Road, Unit 1177,
Storrs, CT 06269-1177.

1. Complaint and Jury Demand

ii. Federal Waiver of Service of Process Form for University of Connecticut
and Brian Goepfrich

ili. Civil Action Cover Sheet

 
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3.

John Doe’s Emergency Motion for Temporary Restraining Order and
Preliminary Injunction

John Doe’s Memorandum in Support of Emergency Motion for
Temporary Restraining Order and Preliminary Injunction

John Doe’s Affidavit in Support of Emergency Motion for Temporary
Restraining Order and Preliminary Injunction

Exhibit A through Exhibit O, attached to John Doe’s Affidavit in Support
of Emergency Motion for Temporary Restraining Order and Preliminary
Injunction

John Doe’s Proposed Order on his Emergency Motion for Temporary
Restraining Order and Preliminary Injunction

John Doe’s Motion to Proceed Anonymously as John Doe

John Doe’s Memorandum in Support of Motion to Proceed
Anonymously as John Doe

John Doe’s Motion to Seal

John Doe’s Memorandum in Support of Motion to Seal

Attorney Gelston and I corresponded by email on or around December 12 and

December 13, 2019 and by letter dated December 10, 2019 requesting that the parties negotiate a

reasonable solution rather than force Plaintiff to file for emergency injunctive relief. Attorney

Gelston rejected all attempts at dialogue. On behalf of my client, I made clear to attorney

Gelston at that time that if Defendant University of Connecticut proceeded with unfair

disciplinary action against my client, he would be forced to take legal action, including seeking

emergency injunctive relief.

4.

Defendant Brian Goepfrich is an employee of Defendant University of

Connecticut and is being sued in his official capacity as a state actor. He has been served notice

through his employer’s attorney.
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Se Plaintiff John Doe will be irreparably harmed as set forth in the Affidavit of John
Doe in Support of His Motion for TRO and Preliminary Injunction. UConn preemptively
expelled him on October 15, 2019 before any investigation of alleged wrongdoing of which he
was accused had been completed. His prejudgment was made formal in a decision issued by
Defendant Brian Goepfrich on November 14, 2019 and then affirmed by Defendant University of
Connecticut’s Hearing Board on December 16, 2019. In a second-level appeal, Defendant
University of Connecticut commuted the sanction of expulsion to a two-year suspension after
which John Doe is granted only permission to “reapply” to the University and fulfill as yet
unnamed conditions set by Defendant University of Connecticut’s Community Standards Office.
Even then John Doe must also apply for reinstatement in the UConn business school in order to
complete his major. Prior to being sanctioned, John Doe was only one semester away from
fulfilling his requirements for graduation.

6. On December 21, 2020, I also caused a copy of the documents listed in § 2 of this
Affidavit to be sent to the Office of the Attorney General of the State of Connecticut at
Attorney.General@ct.gov.

SIGNED UNDER THE PENALTIES OF PERJURY THIS 18™ DAY OF JANUARY 2020

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Michael Thad Allen
SUBSCRIBED AND SWORN TO before me this 18" day of January 2020, by

 

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Maren Klawitef
Barta odes of the Court

Bar No. FFAS

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